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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER DEEMING MOOT
                                                   PLAINTIFF’S MOTION TO EXCLUDE
   Grubb v. Monsanto Co.,                          EXPERT SCHIFFER
   Case No. 3:20-cv-09293-VC
                                                   Re: Dkt. No. 20084



       The plaintiff filed a motion to exclude the expert testimony of Dr. Charles A. Schiffer. In

response, Monsanto filed a notice withdrawing Dr. Schiffer as an expert. See Dkt. No. 20229.

Therefore, the motion is deemed moot.

       IT IS SO ORDERED.

Dated: March 25, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
